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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
NORTHERN DIVISION

UNITED STATES OF AMERICA

v. cRIMINALNO. 2.ULI7A. OPS FRE

NEWTON WADE TOWNSEND

NOTICE OF MAXIMUM PENALTY

Threats Against a Federal Official
18 U.S.C. § 115(a)(1)(B), (b)(4)
Not more than ten (10) years of imprisonment
e Not more than a $250,000 fine
e Not more than three (3) years supervised release
e $100 special assessment
